                                   U.S. Department of Justice

                                   Federal Bureau of Prisons

                                   Federal Correctional Complex, Allenwood


                                   Low Security Correctional Institution
                                   P. O. Box 1500
                                   White Deer, PA 17887



                                   May 13, 2022


RE:   ROSENSTEEL, Igor Cooper
      Register No.: 64770-037


Inmate Rosensteel:

Your letter to Mr. Garland, Attorney General, listed under GTS
No.: CTS667339, was forwarded to my office for response
regarding your concern of application of First Act time credits.
Specifically, you request applicable credits be applied to your
case, resulting in your earlier release from confinement.                                   I
In a review of your case, you have been determined to have a
Medium Risk Recidivism level. As a result, you are ineligible
for application of ESA time credits. Your case will continue to
be -reviewed at your regularly scheduled program reviews. Your
next review is scheduled for August 2022. Should your
recidivism risk level drop to a Low or Minimal level, for two
consecutive Program Reviews, any ESA time credits will be
applied to your case.

If you are dissatisfied with the information noted above, you
may appeal through the Administrative Remedy Program. This may
be initiated by contacting your Unit Team.

I trust this information addresses your concerns.


Sincerely,



R. Thompson
Warden
                           h     /fMorney       £ e.nCJ'c   / h            uLy' CF Jc« ■l
                     i/o
              C/Ci
  ALFFE         ★                  INMATE EDUCATION DATA               *       06-21-2022
PAGE 001 OF 001 *                        TRANSCRIPT                    ★       17:53:58

REGISTER NO: 64770-037            NAME..: ROSENSTEEL                       FUNC: PRT
FORMAT     : TRANSCRIPT           RSP OF: ALF-ALLENWOOD LOW FCI

                             EDUCATION INFORMATION
FACL ASSIGNMENT DESCRIPTION                    START DATE/TIME STOP DATE/TIME
ALF ESL HAS     ENGLISH PROFICIENT             09-14-2021 1819 CURRENT
ALF GED HAS     COMPLETED GED OR HS DIPLOMA    10-07-2021 0842 CURRENT

                                      EDUCATION COURSES
SUB-FACL         DESCRIPTION                     START DATE    STOP DATE EVNT AC       LV      HRS
ALF RDAP         RHU FAMOUS MALE SPORTS STARS    06-09-2022   CURRENT
ALF RDAP         RHU START A SMALL BUSINESS      06-17-2022   CURRENT
ALF RDAP         RHU PASS THE US CITZNSHP TEST? 06-17-2022    CURRENT
ALF RDAP         RHU ACE US CONSTITUTION         06-17-2022   CURRENT
ALF RDAP         RHU WORLD WAR 1                 06-17-2022   CURRENT
ALF RDAP         RHU WORLD WAR 2 ACE COURSE      06-17-2022   CURRENT
ALF RDAP         RHU CHECKBOOK MATH              04-11-2022   05-10-2022   P C         P            3
ALF RDAP         RHU ACE INTRO TO OSHA           04-18-2022   05-10-2022   P C         P            5
ALF RDAP         RPP 6: PERSONAL GROWTH/DEVELOP 05-02-2022    05-02-2022   P C         P            1
ALF RDAP         RPP 5: REL REQUIRE/PROCEDURES   05-03-2022   05-03-2022   P C         P            2
ALF RDAP         RPP 4: INFORMATION & COMMUNITY 05-03-2022    05-03-2022   P C         P            3
ALF RDAP         RPP 3: PERSONAL FINANCE         05-03-2022   05-03-2022   P C         P            2
ALF RDAP         RPP 2: EMPLOYMENT               05-03-2022   05-03-2022   P C         P            2
ALF RDAP         RPP 1: HEALTH & NUTRITION       05-02-2022   05-02-2022   P C         P            1
ALF RDAP         RHU ACE GUIDE TO ONLINE SAFETY 02-22-2022    03-08-2022   P C         P            3
ALF RDAP         RHU START A SMALL BUSINESS      02-22-2022   03-08-2022   P C         P            3
ALF RDAP         RHU BASICS OF BORROWING         01-31-2022   02-15-2022   P C         P         3
ALF RDAP         RHU ACE CDL COURSE              01-31-2022   02-15-2022   P C         P         5
ALF RDAP         HEALTH PROMOTION                11-11-2021   02-12-2022   P C         P        20
ALF RDAP         HEALTH CARE ENVIRONMENTAL HTH 11-11-2021     02-12-2022   P C         P        20
ALF RDAP         SHU ADVANCED NUTRITION & WM     11-11-2021   02-12-2022   P C         P        20
ALF              SHU HEALTHY AGING               11-07-2021   12-09-2021   P C         P        20
ALF              ASTHMA SHU                      11-07-2021   12-09-2021   P C         P        20
ALF              SHU INFECTIOUS & CHRONIC DIS    11-07-2021   12-09-2021   P C         P        20
ALF              RHU EMAIL BASICS                11-23-2021   12-08-2021   P C         P         3


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  rfHCnl/voO -




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      >ALFGL 540*23 *                                            SENTENCE MONITORING                      ★       05-02-2022
     PAGE 001       *                                              COMPUTATION DATA                       *       06:28:55
                                                                   AS OF 05-02-2022

     REGNO..: 64770-037 NAME: ROSENSTEEL, IGOR COOPER


    FBI NO...                              115351PD8                                    DATE OF BIRTH: 03-07-1990      AGE:    32
    ARS1.........                          ALF/A-DES
    UNIT.........                          UNION RDAP                                   QUARTERS     : U04-521L
    DETAINERS                              NO                                           NOTIFICATIONS: NO

    FSA ELIGIBILITY STATUS IS: INELIGIBLE                                        Or'i
    THE FOLLOWING SENTENCE DATA IS FOR THE INMATE'S CURRENT COMMITMENT.

    HOME DETENTION ELIGIBILITY DATE                                          : 12-07-2022

    THE INMATE IS PROJECTED FOR RELEASE: 05-07-2023 VIA 3621E COND                                            Only     X /t^eyi (■t /   Oir rOOD ^

                                                                                                               f (or XD/f P
                                       RELEASE AUDIT COMPLETED ON 04-29-2022 BY DSCC
                                       ---------CURRENT JUDGMENT/WARRANT NO: 010 --------------

    COURT OF JURISDICTION.......................                         MARYLAND
    DOCKET NUMBER..........................................              ELH-1-21-CR-00169-00
    JUDGE.............................................................   HOLLANDER
    DATE SENTENCED^PROBATION IMPOSED                                     07-16-2021
    DATE COMMITTED........................................               09-02-2021
    HOW COMMITTED..........................................              US DISTRICT COURT COMMITMENT
    PROBATION IMPOSED.................................                   NO

                                      FELONY ASSESS                  MISDMNR ASSESS FINES                  COSTS
    NON-COMMITTED.:                   $200.00                        $00.00         $00.00                $00.00

    RESTITUTION...:                   PROPERTY:              NO      SERVICES:      NO          AMOUNT:   $1,868.92

     REMARKS                          DKT 3ELH-1-21-CR-00169-001

                             CURRENT OBLIGATION NO: 010 -----
    OFFENSE CODE       160     18:1028 FRAUD IDENTITY THEFT
    OFF/CHG: 18:1028(A)(7) IDENTITY THEFT (CT 1)

     SENTENCE PROCEDURE............................   3559 PLRA SENTENCE
     SENTENCE IMPOSED/TIME TO SERVE.                     21 MONTHS
     TERM OF SUPERVISION..........................        3 YEARS
     RELATIONSHIP OF THIS OBLIGATION
      TO OTHERS FOR THE OFFENDER....: CS 010 020; 020 020
     DATE OF OFFENSE                                : 07-10-2020




    G0002                  MORE PAGES TO FOLLOW .                        .
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      ''ALFGL 540*23 *                                      SENTENCE MONITORING                      *    05-02-2022
     PAGE 002        ★                                        COMPUTATION DATA                       *    06:28:55
                                                              AS OF 05-02-2022

     REGNO..: 64770-037 NAME: ROSENSTEEL, IGOR COOPER



                             CURRENT OBLIGATION NO: 020
    OFFENSE CODE       032     18:3147 BAIL/BOND JUMPING
    OFF/CHG: 18:3147(1) BAIL REFORM ACT VIOLATIONS (CT 5)

      SENTENCE PROCEDURE...............................        3559 PLRA SENTENCE
      SENTENCE IMPOSED/TIME TO SERVE.                              5 MONTHS
      TERM OF SUPERVISION............................              3 YEARS
      RELATIONSHIP OF THIS OBLIGATION
       TO OTHERS FOR THE OFFENDER.... : CS 010 010; 020 020
      DATE OF OFFENSE....................................... : 07-10-2020

                                              CURRENT JUDGMENT/WARRANT NO: 020

    COURT OF JURISDICTION.....................                       MARYLAND
    DOCKET NUMBER......................................              ELH-1-19-CR-00183-00
    JUDGE.......................................................     HOLLANDER
    DATE SENTENCED/PROBATION IMPOSED                                 07-21-2021
    DATE COMMITTED............................................       09-02-2021
    HOW COMMITTED...............................................     US DISTRICT COURT COMMITMENT
    PROBATION IMPOSED....................................            NO

                                    FELONY ASSESS                  MISDMNR ASSESS FINES               COSTS
    NON-COMMITTED.:                 $200.00                        $00.00         $00.00             $00.00

    RESTITUTION...:                 PROPERTY:            NO        SERVICES:   NO          AMOUNT:   $1,868.92
     REMARKS                    : DKT #EI.H -1 --19 -CR- 0 0183 - 0 01

                            --CURRENT OBLIGATION NO: 010 ----
    OFFENSE CODE       157      18:1029 FRAUD ACCESS DEVICES
    OFF/CHG: 18:1029(A)(2) ACCESS DEVICE FRAUD (CT 5)

     SENTENCE PROCEDURE.......................         3559 PLRA SENTENCE
     SENTENCE IMPOSED/TIME TO SERVE.                      21 MONTHS
     TERM OF SUPERVISION.......................            3 YEARS
     RELATIONSHIP OF THIS OBLIGATION
      TO OTHERS FOR THE OFFENDER.... : CS 020 020/010 020
     DATE OF OFFENSE................................ : 01-23-2019




    G0002                MORE PAGES TO FOLLOW . .
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      'ALFGL 540*23 *                                 SENTENCE MONITORING                    *   05-02-2022
     PAGE 003       *                                   COMPUTATION DATA                     ★   06:28:55
                                                        AS OF 05-02-2022

    REGNO..: 64770-037 NAME: ROSENSTEEL, IGOR COOPER



                             CURRENT OBLIGATION NO: 020 -----
    OFFENSE CODE       160     18:1028 FRAUD IDENTITY THEFT
    OFF/CHG: 18:1028A(A)(1)&(B) AGGRAVATED IDENTITY THEFT (CT 12)

     SENTENCE PROCEDURE...............................        3559 PLRA SENTENCE
     SENTENCE IMPOSED/TIME TO SERVE.                             24 MONTHS
     TERM OF SUPERVISION.............................             1 YEARS
     RELATIONSHIP OF THIS OBLIGATION
      TO OTHERS FOR THE OFFENDER....                          CS 020 010/010 020
     DATE OF OFFENSE.......................................   01-23-2019

                                               CURRENT COMPUTATION NO: 010

    COMPUTATION 010 WAS LAST UPDATED ON 04-29-2022 AT DSC AUTOMATICALLY
    COMPUTATION CERTIFIED ON 04-29-2022 BY DESIG/SENTENCE COMPUTATION CTR

    THE FOLLOWING JUDGMENTS, WARRANTS AND OBLIGATIONS ARE INCLUDED IN
    CURRENT COMPUTATION 010: 010 010, 010 020, 020 010, 020 020

    DATE COMPUTATION BEGAN................                    07-16-2021
    AGGREGATED SENTENCE PROCEDURE.                            AGGREGATE GROUP 800 PLRA
    TOTAL TERM IN EFFECT.....................                    50 MONTHS
    TOTAL TERM IN EFFECT CONVERTED                                4 YEARS      2 MONTHS
    AGGREGATED TERM OF SUPERVISION                                3 YEARS
    EARLIEST DATE OF OFFENSE............                      01-23-2019

    JAIL CREDIT                                                    FROM DATE    THRU DATE
                                                                   02-02-2019   02-02-2019
                                                                   07-23-2019   01-30-2020
                                                                   07-07-2020   07-15-2021




    G0002              MORE PAGES TO FOLLOW .                  .
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          ALFGL    540*23 *                         SENTENCE MONITORING                 *     05-02-2022
    PAGE 004 OF 004 *                                 COMPUTATION DATA                  ★     06:28:55
                                                       AS OF 05-02-2022

    REGNO..: 64770-037 NAME: ROSENSTEEL, IGOR COOPER


    TOTAL PRIOR CREDIT TIME.................                567
    TOTAL INOPERATIVE TIME...................               0
    TOTAL GCT EARNED AND PROJECTED..                        225
    TOTAL GCT EARNED................................        108
    STATUTORY RELEASE DATE PROJECTED                        07-16-2023
    ELDERLY OFFENDER TWO THIRDS DATE                        10-07-2022
    EXPIRATION FULL TERM DATE.............                  02-26-2024
    TIME SERVED..........................................          2 YEARS   4 MONTHS       6 DAYS
    PERCENTAGE OF FULL TERM SERVED..                            56.3
    PERCENT OF STATUTORY TERM SERVED                            66.1

    3621E COMPLETE RESIDENT PROGRAM.                        11-08-2022
    362IE COMPLETE COMMUNITY PROGRAM                        j
    362IE RELEASE DATE..................................    05-07-2023

    PROJECTED SATISFACTION DATE        : 05-07-2023
    PROJECTED SATISFACTION METHOD. . . : 3 621E COND

    REMARKS                : 10-25-21 ADJUSTED JAIL CREDIT B/LMH; 2/23/22 764 B/JKR.
                              04-28-2022 UPDT JC/ SEE MEM-2 B/EAH;




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